 Case 21-05193       Doc 208  Filed 05/12/22 Entered 05/13/22 06:07:56             Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                        )         BK No.: 21-05193
FORD CITY CONDOMINIUM         )
ASSOCIATION                   )         Chapter: 11
                              )
                                        Honorable Carol A. Doyle
                              )
                              )
          Debtor(s)           )
  ORDER GRANTING APPLICATION TO EMPLOY ADAM TOOSLEY OF HIRZEL LAW,
                                 PLC
                         AS SPECIAL COUNSEL
        This matter coming before the Court upon the application (the "Application") of William B.
Avellone (the "Trustee"), as subchapter V trustee of the estate of Ford City Condominium Association
(the "Debtor"), to employ Adam C. Toosley and the law firm of Hirzel Law, PLC ("Hirzel") as counsel
for the Trustee, under to sections 327(a) and 328(a) of title 11 of the United States Code (the
“Bankruptcy Code”),

   IT IS ORDERED the application is granted as follows:

      A. Pursuant to sections 327 and 328 of the Bankruptcy Code, the Trustee is authorized to employ
Hirzel as counsel to perform the services set forth in the Application and the engagement agreement in
place between Hirzel and the Debtor;

      B. Hirzel will be compensated on a flat fee schedule incurred in accordance with the procedures
set forth in sections 330 and 331 of the Bankruptcy Code.

     C. Hirzel will be compensated on an hourly basis for services outside the scope of the flat fee
schedule in accordance with the procedures set forth in sections 330 and 331 of the Bankruptcy Code.

      D. Hirzel must seek approval of payment of all compensation in accordance with all applicable
provisions of the Bankruptcy Code.

                                                         Enter:



                                                                  Honorable Carol A. Doyle
Dated: May 12, 2022                                               United States Bankruptcy Judge

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